219 F.2d 950
    UNITED STATES of America, Appellant,v.James D. O'CONNOR.
    No. 15236.
    United States Court of Appeals, Eighth Circuit.
    January 6, 1955.
    
      Appeal from the United States District Court, District of Minnesota.
      George E. MacKinnon, U. S. Atty., and Alex Dim, Asst. U. S. Atty., St. Paul, Minn., for appellant.
      Elmer J. Ryan and William P. Murphy, St. Paul, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court, 123 F. Supp. 385, dismissed on stipulation of parties.
    
    